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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



 __________________________________
                                              )
                                              )
      Rodney Lail, et al.,                    )
                                              )
               Plaintiffs,                    )
                                              )     C.A. No. 10-CV-210-PLF
                      v.                      )
                                              )
      United States Government, et al.,       )
                                              )
                                              )
               Defendants.                    )
                                              )
                                              )
                                              )


   PRO SE PLAINTIFFS’ MOTION TO ENLARGE TIME TO FILE AN
  ANSWER OR OTHERWISE RESPOND TO DEFENDANT ACADEMY
  GROUP, INC.’S MOTION TO DISMISS OR IN THE ALTERNATIVE
     MOTION FOR SUMMARY JUDGMENT (DOCUMENT NO. 50)


      Pursuant to Fed. R. Civ. P. 6(b)(1), the Pro Se Plaintiffs respectfully request

an expansion of time to and including October 5, 2010, to file an answer or

otherwise respond to Defendant’s Document No. 50. Good cause exists to grant

this motion.

   1. Defendant Academy Group, Inc., (“AGI”) filed Document No. 50, on

      September 7, 2010.
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2. Defendant “AGI” claims to have no business ties to Defendant Noel Herold

   during the applicable time period.

3. Defendant Noel Herold in sworn testimony testified that he in fact had

   business ties during the applicable time period.

4. Because Defendant “AGI” is attempting to gain a dismissal or in the

   alternative summary judgment without any discovery being conducted, Pro

   Se Plaintiffs require additional time to research the law and the evidentiary

   documentation to determine an appropriate response.

5. Pro Se Plaintiffs have limited resources and no legal training in these

   matters and, therefore, require such an extension to formulate a response.

6. Pro Se Plaintiffs, mostly disabled, have been forced to use their limited time

   resources to attempt to legally find a way to protect themselves after the

   attempt by a Co-Defendants Counsel in this action to have a Pro Se Plaintiff

   wrongfully arrested by local police to further wrongfully interfere with Pro

   Se Plaintiffs litigation in these matters. (See Document No. 52, Pgs. 4 – 6

   and related attachments.)

7. Granting this expansion of time will not affect any other deadlines as no

   discovery plan or order has been filed in this matter.

8. This motion for expansion of time is filed before the time for a response to

   Document No. 50 has expired.


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